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                                EASTERN DISTRICT OF TEXAS
                                      Marshall Division




AVANT LOCATION TECHNOLOGIES LLC,

                                                                  2:24-cv-00133

SAMSUNG ELECTRONICS CO., LTD. and
SAMSUNG ELECTRONICS AMERICA, INC.,




     Samsung Electronics America, Inc.
     C/O CT Corporation System
     1999 Bryan Street, Suite 900
     Dallas, Texas 75201-3136




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       2/26/2024
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